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                       UNITED STATES DISTRICT COURT
                         DISTRICT OF NEW HAMPSHIRE



United States of America

     v.                                    Crim. No.        ftQ-CT-l          &"~?-<S^L




                     ORDER ON VIOLATION OF CONDITIONS

     The defendant appeared before me on this date at a LASER
Review Hearing. During the course of the hearing, the court
determined that the defendant has violated the terms of the LASER
Agreement/Order on Conditions of Release. As a result, the court
enters the following order:


             The defendant shall be detained until
             At the conclusion of incarceration, defendant shall be

                      Brought before the undersigned judge.

                      Released on                           at                am/pm.
                                           [Date]                    [Time]



             The defendant shall reside in Hampshire House for a
             period of         days/months to commence on
                                , and shall observe the rules of
             that facility.


             The defendant shall be placed on home detention for
                   days/months, to commence on                  .
             During this time, the defendant shall remain at his
             place of residence except for employment and other
             activities approved in advance by the probation
             officer. The defendant shall maintain a telephone at
             his place of residence without any special services,
             modems, answering machines, or cordless telephones for
             the above period. The defendant shall wear an
             electronic device and shall observe the rules specified
             by the Probation Office. The defendant shall pay for
             the cost of electronic monitoring to the extent he is
             able as determined by the probation officer.
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           The defendant shall be subject to the following
           additional or modified conditions:

                          -ei




     Prior conditions of release not inconsistent with this order
shall remain in full force and effect.


                                          SO ORDERED.


Date:       J A V / 2.
                                          Joseph IK. La;
                                          Chief/Judge




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